
KLEINFELD, Circuit Judge,
concurring:
I concur in the result. Although I agree that the sentence should be vacated and the case remanded for resentencing, my *663reasoning, and the consequence on remand, differ from the majority’s.
Holmes set seven different fires over a period of around six weeks. All were on unoccupied land, and fortunately all were put out without injury to anyone. The restitution figure is $155,881.36, most of that for the $132,881.36 the BLM spent on firefighting, the rest for $10,325 for what the volunteer fire department spent and $12,675 for what the rod and gun club had to spend to reseed its acreage. One of the fires burned private land, for which the owner did not ask for any restitution.
Several factors added to Holmes’s blameworthiness. He was a volunteer firefighter, and although no special expertise contributed to or was needed to set the fires, people expect firefighters to fight fires, not start them. And he lied when he was caught, sending the authorities down several paths that might have led to charges against innocent people. He gave truck descriptions, license plate numbers, and other identifiers that could have landed someone innocent in federal prison instead of himself. Fortunately, he literally left tracks, tire tracks, pointing to him, reported the fires anonymously from locations establishing that he was probably the person who called 911, his truck was seen by a BLM officer leaving the area where the fires had been reported only thirty seconds before a new fire was discovered, and he set the fires in locations of the fires all within a six mile circle and at times suggesting that he set them all in the afternoon after he got off work and before he got home for dinner.
The only issue before us is whether the district court erred by applying the more aggravated public arson guideline range. Holmes’s crimes were all for setting public land on fire, under 18 U.S.C. § 1855. That statute provides for imprisonment for “not more than five years” for willfully setting on fire timber, underbrush or other inflammable material on public lands.1 Since he set the six fires on six different dates, Holmes committed six separate crimes, so “grouping” was applied, leading to his six-year prison sentence.
The applicable sentencing guideline is a broad one, for “Arson; Property Damage by Use of Explosives,” embracing numerous statutes.2 Timothy McVeigh blowing up the Oklahoma City Federal Building, Ramzi Yousef blowing up the World Trade Center in 1993, Ahmed Ressam attempting to blow up Los Angeles International Airport, and Clyde Holmes Jr. burning brush on government land all fall within the *664same guideline, though if people die, additional guidelines apply. The guideline has four sections with varying base offender levels; (1) 24, for the worst sort of bombing or arson, that knowingly creates substantial risk to persons or destroys such public facilities as airports, planes and ships; (2) 20, for arson creating a substantial risk to persons (but not knowingly) or blowing up or burning down a less important government building or place of public use; (3) 16, for destroying a lighthouse or other aid to maritime navigation; and (4), 2 plus the offense level for theft, property destruction and fraud. Holmes was assigned a 24, and argues that he should not have been. Since he argues for no less than 20, we need not decide whether any more lenient offense level might have been appropriate. All that is before us is whether he was properly assigned a base offense level of 24, the highest.
In my view, that assignment was error. As bad as his crime was, it was not in the same class as blowing up the terminal at LAX,3 or blowing up a truck in the basement of the World Trade Center in hopes of accomplishing what A1 Qaeda subsequently succeeded at in 2001, or blowing up the Federal Building in Oklahoma City. That is the class designated by the guideline for the 24 level.
The 24 level is reserved for arson and bombing that knowingly created a substantial risk of death or serious bodily injury to persons, or involved destruction or attempted destruction of “a dwelling, an airport, an aircraft, a mass transportation facility, a mass transportation vehicle, a maritime facility, a vessel, or a vessel’s cargo, a public transportation system, a state or government facility, an infrastructure facility, or a place of public use.”4 The 20 level, still quite high as sentencing guidelines go, is for arson and bombing that created a substantial risk of death or serious bodily injury to persons but without the element that “the risk was created knowingly,” or the destruction was for a structure other than the ones listed in the level 24 guideline, or endangered one of those facilities without destroying or attempting to destroy it. Of course, the level is increased greatly if anyone is injured or killed.5
*665Our task is to construe “place of public use” in the highest level guideline subsection. The majority opinion errs because of a mistaken choice of methodology, looking only at the isolated phrase, without considering its context. Statutory construction,6 like most interpretation of language, has to take account of context. The traditional legal terms for taking account of context are ejusdem generis and noscitur a sociis. “Though lawyers do not learn as much Latin as they used to, there is nothing esoteric about listing a series of examples and considering whether something else is like things in the list.” 7 Ejusdem generis, literally “things of the same kind,” means merely that we determine the meaning of a general term by reference to the others in the list. Noscitur a sociis, literally, “it is known from its associates,” means merely that we determine the meaning of a general term by reference to those with which it is associated.
People use the principles of ejusdem generis and noscitur a sociis all the time, to understand ordinary speech, without realizing that they are doing so, just as they do not realize that they are speaking prose. When the waiter says “would you like a cocktail? wine? anything else?,” we know he is asking for a drink order, not a dessert order, and not whether you would like a new car, even though a new car would fall within the “anything else” category were the phrase considered according to dictionary meaning without regard to context. And when the grade school boy tells his mother “we have to bring a ruler, a pencil, paper, and other stuff to school tomorrow,” we know he is talking about school supplies, not his pet puppy. Watching an old movie recently, I saw the words “roll film” on the screen, and quickly realized they meant “start the movie,” not “120 film for cameras.” The only way to tell that “roll” was a verb, not an adjective, was context.
Context requires that we consider “place of public use” in the context of “a dwelling, an airport, an aircraft, a mass transportation facility, a mass transportation vehicle, a maritime facility, a vessel, or a vessel’s cargo, a public transportation system, a state or government facility, [and] an infrastructure facility,” just as we consider the waiter’s “anything else” in the context of drink orders. The general catchall phrase means something of the same sort as the specific phrases. And that is so even though “place of public use” means, construed in isolation, anyplace at all where the public is not excluded, just as “anything else” means anything at all.
So let us look at the context, filling in concrete examples for generalities. Burn*666ing down someone’s house necessarily deprives the victim of a place to live and property much of which, such as family photographs, cannot be replaced, and creates a very high risk of death. Burning down an airport is likely to kill people, and certain to create great disruption for travel and commerce; people will miss weddings and funerals as well as job interviews and sales opportunities, businesses will fail, and many lives will be disrupted. Blowing up an airplane or bus, as terrorists do in Israel, is a pretty far cry from burning brush on empty public land. All these specific categories appear to be some sort of structure, where the structure itself is exceedingly important to people, and destruction is exceedingly dangerous. Burning brush on bare land just does not fit. It can indeed be very dangerous, especially to firefighters, but it is not as likely to kill people as, say, blowing up a government building or a train.
The guideline for level 20 applies to “a structure other than” that list. The phrase “or a place of public use” is in both the 24 and the 20 guideline. The language of the 20 guideline has three strong implications for the case before us. First, by referring to “structure other than,” the language for level 20 assumes that all concrete examples in the higher guideline are “structure^].” A “place of public use” for level 24 is probably, therefore, used by the Sentencing Commissioners, to mean a structure. Second, the language implies that burning down or blowing up public facilities other than airports, airplanes, buses, trains, and so forth, should be punished a little less severely than burning down or blowing up structures in that specially designated class. Third, use of the identical catch-all phrase “place of public use” in both guidelines suggests that the commissioners intended it as a catchall for things like the preceding concrete terms, not something that trumps even the Pentagon and the White House in how protected it is.
The guideline under which Holmes was sentenced does not address environmental crimes, so it does not much matter for the public arson guideline whether the brush will grow back in a year, or whether the whistle pigs will return promptly, or whether the ground covering after the fire will differ in some respect. No doubt things will be different, just as one can never set foot in the same river twice, and land constantly changes from natural occurrences including lightning-caused fires. There are numerous guidelines for crimes against the environment, with offense levels ranging from 6 for putting hazardous devices on federal lands,8 or 8 for mishandling hazardous substances,9 or 10 for tampering with the transportation of hazardous substances,10 to 24, for knowing endangerment resulting from mishandling of hazardous substances.11 Though the majority opinion and the district court have discussed this case as though it were charged and sentenced as an environmental crime, it was not, and none of the environmental crime statutes or guidelines were used. As for the risk that a firefighter might be injured or killed fighting Holmes’s fires, the lower level 20 arson and bombing guideline applies where the fire “created a substantial risk of death or bodily injury.”
*667Blowing up a government building, an airport, or a bus or train would be a 24. Under the majority’s interpretation, so would setting off a cherry bomb in a BLM trailhead suggestion box. That is not a sensible reading of the statute.12

. The statute provides, in full:
Whoever, willfully and without authority, sets on fire any timber, underbrush, or grass or other inflammable material upon the public domain or upon any lands owned or leased by or under the partial, concurrent, or exclusive jurisdiction of the United States, or under contract for purchase or for the acquisition of which condemnation proceedings have been instituted, or upon any Indian reservation or lands belonging to or occupied by any tribe or group of Indians under authority of the United States, or upon any Indian allotment while the title to the same shall be held in trust by the Government, or while the same shall remain inalienable by the allottee without the consent of the United States, shall be fined under this title or imprisoned not more than five years, or both. This section shall not apply in the case of a fire set by an allottee in the reasonable exercise of his proprietary rights in the allotment.
18 U.S.C. § 1855.


. Cf. United States v. Ressam, 629 F.3d 793, 805 (9th Cir.2010).


. U.S.S.G. § 2K1.4(a)(1) (2007).


. The relevant sentencing guideline provides, in full:
§ 2K1.4. Arson; Property Damage by Use of Explosives
(a) Base Offense Level (Apply the Greatest):
(1) 24, if the offense (A) created a substantial risk of death or serious bodily injury to any person other than a participant in the offense, and that risk was created knowingly; or (B) involved the destruction or attempted destruction of a dwelling, an airport, an aircraft, a mass transportation facility, a mass transportation vehicle, a maritime facility, a vessel, or a vessel’s cargo, a public transportation system, a state or government facility, an infrastructure facility, or a place of public use;
(2) 20, if the offense (A) created a substantial risk of death or serious bodily injury to any person other than a participant in the offense; (B) involved the destruction or attempted destruction of a structure other than (i) a dwelling, or (ii) an airport, an aircraft, a mass transportation facility, a mass transportation vehicle, a maritime facility, a vessel, or a vessel’s cargo, a public transportation system, a state or government facility, an infrastructure facility, or a place of public use; or (C) endangered (i) a dwelling, (ii) a structure other than a dwelling, or (iii) an airport, an aircraft, a mass transportation facility, a mass transportation vehicle, a maritime facility, a vessel, or a vessel’s cargo, a public transportation system, a state or government facility, an infrastructure facility, or a place of public use;
*665(3) 16, if the offense involved the destruction of or tampering with aids to maritime navigation; or
(4) 2 plus the offense level from § 2B1.1 (Theft, Property Destruction, and Fraud).
(b) Specific Offense Characteristics
(1) If the offense was committed to conceal another offense, increase by 2 levels.
(2) If the base offense level is not determined under (a)(4), and the offense occurred on a national cemetery, increase by 2 levels.
(c) Cross Reference
(1) If death resulted, or the offense was intended to cause death or serious bodily injury, apply the most analogous guideline from Chapter Two, Part A (Offenses Against the Person) if the resulting offense level is greater than that determined above.
U.S.S.G. § 2K1.4 (2007).


. The guidelines are construed similarly to statutes. See United States v. Treadwell, 593 F.3d 990, 1006 (9th Cir.2010) (“We use traditional rules of statutory construction when interpreting the text of the Guidelines. This includes traditional canons of statutory construction.” (citations omitted)).


. Portland 76 Auto/Truck Plaza, Inc. v. Union Oil Co., 153 F.3d 938, 945 (9th Cir. 1998).


. 18 U.S.C. § 1864; see U.S.S.G. § 201.6(a)(4) (2007).


. 42 U.S.C. § 6928(d); see U.S.S.G. § 201.2(a).


. 49 U.S.C. § 5124; see U.S.S.G. § 201.2(b)(7).


. 42 U.S.C. § 6928(e); see U.S.S.G. § 201.1(a).


. See United States v. 1996 Freightliner Fld., 634 F.3d 1113, 1117 &amp; n. 10 (9th Cir.2011) (citing 2 Henry M. Hart Jr. &amp; Albert M. Sacks, The Legal Process 1414-15 (tent. ed.1958) ("In determining the more immediate purpose which ought to be attributed to a statute, and to any subordinate provision of it which may be involved, a court should try to put itself in imagination in the position of the legislature which enacted the measure____It should assume, unless the contrary unmistakably appears, that the legislature was made up of reasonable persons pursuing reasonable purposes reasonably.... The court should then proceed to [ask] ... Why would reasonable men, confronted with the law as it was, have enacted this new law to replace it? ... The most reliable guides to an answer will be found in the instances of unquestioned application of the statute. Even in the case of a new statute there almost invariably are such instances, in which, because of the perfect fit of words and context, the meaning seems unmistakable.... What is crucial here is the realization that law is being made, and that law is not supposed to be irrational.”)).

